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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    KEY WEST POLICE & FIRE PENSION                   Civil Action No.
    FUND, on behalf of itself and all others
    similarly situated,                              CLASS ACTION

                          Plaintiff,
                                                     COMPLAINT FOR VIOLATIONS OF
                  v.                                 THE FEDERAL SECURITIES LAWS

   RYDER SYSTEM, INC., ROBERT E.
   SANCHEZ, ART A. GARCIA, and SCOTT                 JURY TRIAL DEMANDED
   T. PARKER,

                          Defendants.


         Plaintiff Key West Police & Fire Pension Fund (“Key West P&F” or “Plaintiff”), by and

  through its counsel, alleges the following upon information and belief, except as to those

  allegations concerning Plaintiff, which are alleged upon personal knowledge.               Plaintiff’s

  information and belief are based upon, inter alia, counsel’s investigation, which included review

  and analysis of: (a) regulatory filings made by Ryder System, Inc. (“Ryder” or the “Company”)

  with the United States Securities and Exchange Commission (“SEC”); (b) press releases,

  presentations, and media reports issued and disseminated by the Company; (c) analyst and media

  reports concerning Ryder; (d) transcripts of Ryder’s investor conference calls; and (e) other public

  information regarding the Company.

                                          INTRODUCTION

         1.      Plaintiff brings this securities class action on behalf of all persons or entities that

  purchased shares of Ryder common stock between July 23, 2015 and February 13, 2020, inclusive

  (the “Class Period”). The claims asserted herein are alleged against Ryder and certain of the

  Company’s current and former senior executives (collectively, “Defendants”), and arise under
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  Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

  10b-5, promulgated thereunder.

           2.    Headquartered in Miami, Florida, Ryder is a global provider of transportation and

  supply chain management solutions. The Company operates through three segments: Fleet

  Management Solutions (FMS); Dedicated Transportation Solutions (DTS); and Supply Chain

  Solutions (SCS). The FMS segment, which provides full service leasing and leasing with flexible

  maintenance options, commercial rental, and contract or transactional maintenance services of

  trucks, tractors and trailers, is a key driver of Ryder’s business and accounts for approximately 60

  percent of the Company’s revenue. As part of Ryder’s truck-leasing model, Ryder assigns residual

  values to its trucks for depreciation purposes and then sells those vehicles at the end of their useful

  lives.

           3.    For each year between 2011 and 2016, Ryder adjusted the residual values of certain

  assets upwards between $10 million and $40 million. Increasing an asset’s residual value enables

  a company to decrease the incremental depreciation charge it records on that asset each year. This

  is because depreciation is calculated as the present value of the asset, less the residual value,

  divided by the number of years in the asset’s useful life. Thus, the higher a company reports its

  assets’ residual value, the less depreciation the company must record per year, which has the effect

  of increasing earnings on a dollar-for-dollar basis. In total, Ryder’s upward adjustments resulted

  in a cumulative benefit of $158 million, or $1.92 per share, over this six-year span.

           4.    Throughout the Class Period, Defendants misrepresented Ryder’s true financial

  condition by overstating the residual value of its trucking fleet, which allowed the Company to

  record smaller depreciation expense on those assets each year, and artificially inflated Ryder’s

  earnings. Defendants represented to investors that its financial results “benefited from lower




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  depreciation associated with increased residual values” and that the Company had been

  “conservative” in establishing the residual values of its vehicles. While Ryder kept increasing the

  expected residual value of its trucking fleet, the actual amount Ryder was receiving from sales of

  its used trucks had started to decrease beginning in 2015. Nevertheless, when asked about the

  residual values of the Company’s trucks during Ryder’s July 27, 2016 earnings call, Chairman and

  Chief Executive Officer, Defendant Robert Sanchez stated that “I wouldn’t envision an increase

  or decrease in residual values out over the next four, five years.” These and similar statements

  during the Class Period were false and misleading because Defendants knew or recklessly

  disregarded that the residual values that Ryder assigned to its trucking fleet were grossly

  overstated, which had the effect of allowing the Company to record smaller depreciation expenses

  and artificially inflated Ryder’s earnings. As a result of these misrepresentations, shares of Ryder

  common stock traded at artificially inflated prices during the Class Period.

         5.      The truth began to emerge on July 30, 2019, when the Company drastically reduced

  its full-year 2019 earnings forecast and management indicated that the majority of the lowered

  guidance reflected Ryder’s weaker valuations of its tractors. In response to these disclosures,

  Ryder’s stock price declined 10%, from $59.32 per share to $53.38 per share.

         6.      On October 29, 2019, the Company revealed that “management concluded that our

  residual value estimates likely exceeded the expected future values that would be realized upon

  the sale of power vehicles in our fleet.” As a result, the Company significantly lowered the residual

  values for all its vehicles and incurred $177 million in additional depreciation expense in the third

  quarter of 2019. In response to these disclosures, Ryder’s stock price declined more than 12%

  over two trading days, from $55.12 per share to $48.44 per share.

         7.      Then, on February 13, 2020, the Company reported that, as a result of the




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  significant reductions to the residual value of its fleet, it had incurred a total of $357 million in

  depreciation expense for 2019 plus a loss of approximately $58 million on the sale of used vehicles.

  The Company also announced that, for 2020, it expected to incur another $275 million in

  depreciation expense on its fleet due to the reductions in residual value plus an additional $20

  million estimated loss on used vehicle sales. In response to these disclosures, Ryder’s stock price

  declined 20% over two trading days, from $50.19 per share to $40.12 per share.

                                   JURISDICTION AND VENUE

         8.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

  Act (15 U.S.C. §§ 78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder (17 C.F.R. §

  240.10b-5). This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

  §§ 1331 and 1337 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

         9.      Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

  U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Ryder maintains its headquarters in Miami, Florida,

  which is situated in this District, conducts substantial business in this District, and many of the

  acts and conduct that constitute the violations of law complained of herein, including

  dissemination to the public of materially false and misleading information, occurred in and/or were

  issued from this District. In connection with the acts alleged in this Complaint, Defendants,

  directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

  not limited to, the mails, interstate telephone communications, and the facilities of the national

  securities markets.

                                              PARTIES

         A.      Plaintiff

         10.     Plaintiff Key West P&F is a public pension fund for the benefit of active and retired

  police officers and firefighters of the City of Key West, Florida. As indicated on the certification


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  submitted herewith, Key West P&F purchased Ryder common stock at artificially inflated prices

  during the Class Period and suffered damages as a result of the violations of the federal securities

  laws alleged herein.

         B.       Defendants

         11.      Defendant Ryder is incorporated in Florida, and maintains its corporate

  headquarters at 11690 N.W. 105th Street, Miami, Florida. The Company’s common stock trades

  on the New York Stock Exchange (“NYSE”) under ticker symbol “R.” As of January 31, 2020,

  Ryder had over 53 million shares of common stock outstanding, owned by hundreds or thousands

  of investors.

         12.      Defendant Robert E. Sanchez (“Sanchez”) has served as Ryder’s Chief Executive

  Officer (“CEO”) since January 2013 and as Chairman of Ryder’s Board since May 2013.

         13.      Defendant Art A. Garcia (“Garcia”) served as Executive Vice President and Chief

  Financial Officer (“CFO”) of Ryder from September 2010 until April 5, 2019, and then served as

  a Special Advisor to the CEO until April 30, 2019.

         14.      Defendant Scott T. Parker (“Parker”) has served as Executive Vice President and

  CFO of Ryder since April 5, 2019.

         15.      Defendants Sanchez, Garcia, and Parker are collectively referred to hereinafter as

  the “Individual Defendants.” The Individual Defendants, because of their positions with Ryder,

  possessed the power and authority to control the contents of the Company’s reports to the SEC,

  press releases, and presentations to securities analysts, money and portfolio managers, and

  institutional investors. Each of the Individual Defendants was provided with copies of the

  Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

  their issuance and had the ability and opportunity to prevent their issuance or cause them to be

  corrected. Because of their positions and access to material non-public information available to


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  them, each of the Individual Defendants knew that the adverse facts specified herein had not been

  disclosed to, and were being concealed from, the public, and that the positive representations which

  were being made were then materially false and/or misleading.

                                          BACKGROUND

         16.     Ryder is a global provider of transportation and supply chain management products,

  including leasing trucks to end users. The Company operates through three segments: Fleet

  Management Solutions (FMS); Dedicated Transportation Solutions (DTS); and Supply Chain

  Solutions (SCS).

         17.     Through Ryder’s FMS segment, the Company provides full service leasing and

  leasing with flexible maintenance options, commercial rental, and contract or transactional

  maintenance services of trucks, tractors and trailers.         The FMS segment accounts for

  approximately 60 percent of the Company’s revenue.

         18.     As part of Ryder’s truck-leasing model, Ryder assigns residual values to its trucks

  for depreciation purposes. Ryder then sells its used vehicles at the end of their useful lives. The

  Company calculates its depreciation expense by subtracting the residual value from the present

  value of its trucks and dividing that number by the number of years in the trucks’ useful lives. An

  increase in the residual value of the Company’s trucks enables it to decrease the incremental

  depreciation expense recorded on those assets. Thus, the higher the residual value that Ryder

  assigns to its fleet, the less depreciation expense the Company must record, which has the effect

  of increasing Ryder’s earnings on a dollar-for-dollar basis.




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                 DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
               STATEMENTS CAUSE SUBSTANTIAL LOSSES TO INVESTORS

         19.     The Class Period begins on July 23, 2015, when the Company issued a press release

  announcing its financial and operating results for the quarter ended June 30, 2015. The press

  release, which Ryder also filed with the SEC on Form 8-K, reported that earnings before tax in the

  FMS business segment were $122.8 million in the second quarter, up 8% compared with $113.5

  million in the same period of 2014. The press release stated that the Company’s full service lease

  results benefited from “lower depreciation associated with increased residual values.”

         20.     That same day, Ryder held its second quarter 2015 earnings call. On that call,

  Defendant Sanchez assured investors that the headwind the Company faced in its FMS business

  from used vehicle sales versus the prior year “is being offset on the earnings line by the

  improvements that we’ve seen in depreciation expense also.”

         21.     On August 7, 2015, Ryder filed its quarterly report with the SEC on Form 10-Q,

  reporting the Company’s financial and operating results for the quarter ended June 30, 2015.

  Ryder reported that the Company’s lease and rental gross margin within its FMS business segment

  increased 10% in the second quarter of 2015 to $247.7 million and attributed the increase in

  margin, in part, to “benefits from improved residual values.” The Company also reported that

  earnings before tax in its FMS business segment increased 8% in the second quarter of 2015 to

  $122.5 million and stated that “[r]esults benefited from $10.0 million of lower depreciation in the

  second quarter of 2015” due, in part, to “residual value policy changes.”

         22.     On September 10, 2015, Defendant Garcia presented at the RBC Capital Markets

  Global Industrials Conference. During the conference, Defendant Garcia stated that “we’ve been

  benefiting from the solid used truck environment because of an increase in residuals, which helped

  bring down depreciation expense, which more than offset any gains headwind that we saw.”



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  Defendant Garcia also stated that “we probably haven’t raised our residuals fast enough” and

  “we’ve been kind of conservative in that.”

         23.     On October 22, 2015, the Company issued a press release announcing its financial

  and operating results for the quarter ended September 30, 2015. The press release, which Ryder

  also filed with the SEC on Form 8-K, reported that earnings before tax in the FMS business

  segment were $126.4 million in the third quarter of 2015, up 5% compared with $120.9 million in

  the same period of 2014. The press release stated that, despite “less robust used vehicle sales

  conditions,” the Company’s full service lease results benefited from “lower depreciation

  associated with increased residual values.”

         24.     That same day, Ryder held its third quarter 2015 earnings call. On that call,

  Defendant Sanchez stated “[a]s we look ahead into 2016, we’re likely to see lower gains on sale

  due to pricing” but assured investors that the Company would realize a “benefit in depreciation

  due to higher residual values using our five-year rolling average methodology.”

         25.     Ryder also filed its quarterly report with the SEC on Form 10-Q, reporting the

  Company’s financial and operating results for the quarter ended September 30, 2015. Ryder

  reported that the Company’s lease and rental gross margin within its FMS business segment

  increased 8% in the third quarter of 2015 to $252.3 million and attributed the increase in margin,

  in part, to “benefits from improved residual values.” The Company also reported that earnings

  before tax in its FMS business segment increased 5% in the third quarter of 2015 to $126.4 million

  and stated that results benefited from $10.0 million of lower depreciation due to “residual value

  policy changes.”

         26.     On November 10, 2015, Defendant Sanchez presented at the Robert W. Baird &

  Co. Industrials Conference.    During the conference, Defendant Sanchez explained that the




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  Company determines the residual value of its trucks based on a rolling five-year average of what

  Ryder has been selling used trucks for and “as used truck pricing has really gone up we’ve been

  lagging in that just because you don’t want to overshoot the residual values.” Defendant Sanchez

  then assured investors that “even in this environment I would expect that a five-year rolling

  average is going to cause an increase in residual values which is a benefit to depreciation expense”

  and “[s]o you kind of view used truck gains headwinds primarily offset by depreciation policy

  benefit.”

          27.     On November 11, 2015, Defendant Garcia presented at the Stephens Fall

  Investment Conference. During the conference, Defendant Garcia stated that, for 2016, “we still

  would expect there to be a positive from residual values despite a declining environment [for used

  truck prices] here in the last few months.” Defendant Garcia also represented that even though

  used truck prices were declining, “we’re still saying there’s still an opportunity to raise residuals

  in light of that.”

          28.     On February 2, 2016, the Company issued a press release announcing its financial

  and operating results for the fourth quarter and full year ended December 31, 2015. The press

  release, which Ryder also filed with the SEC on Form 8-K, reported that earnings before tax in the

  FMS business segment were $123.5 million in the fourth quarter of 2015, up 1% compared with

  $122.3 million in the same period of 2014. The press release stated that the Company’s full service

  lease results benefited from “lower depreciation associated with increased residual values.”

          29.     That same day, Ryder held its fourth quarter 2015 earnings call. On that call,

  Defendant Sanchez stated that “[s]ignificant increases in used vehicle pricing over the past five

  years will benefit depreciation rates in 2016, as these results are blended into our vehicle residual

  calculation” and “[t]hese benefits will partially offset lower expected gains on used vehicles sold.”




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   After describing the headwinds from used vehicle sales and the decline in used vehicle pricing,

   Defendant Sanchez assured investors that “I feel really good about our ability to respond quickly

   to them.” In response to an analyst’s question about the depreciation benefit going forward,

   Defendant Sanchez stated that “[i]f we had a type of bleak environment, as we’ve painted here …

   you would be in a situation probably 2017 where things would be flat” and “[s]o there wouldn’t

   be depreciation policy movement one way or the other.”

          30.     On February 11, 2016, Defendant Sanchez presented at the BB&T Transportation

   Services Conference. During the conference, Defendant Sanchez assured investors that “[w]e

   don’t have a situation where we’ve got a bunch of vehicles that are at high residual values [and]

   have to be written down.”

          31.     On February 12, 2016, Ryder filed its annual report with the SEC on Form 10-K,

   reporting the Company’s financial and operating results for the year ended December 31, 2015.

   In the 2015 10-K, Ryder reported that the Company’s lease and rental gross margin within its FMS

   business segment increased 7% in 2015 to $968 million and attributed the increase in margin, in

   part, to “benefits from improved vehicle residual values.” The Company also reported that

   earnings before tax in its FMS business segment increased 1% in the fourth quarter of 2015 to

   $124 million and 7% in 2015 to $462 million and stated that full service lease results benefited

   from “lower depreciation associated with increased residual values.” The 10-K also stated that

   depreciation expense increased 8% in 2015, “partially offset by $40 million . . . from changes in

   residual values.”

          32.     On April 26, 2016, the Company issued a press release announcing its financial and

   operating results for the quarter ended March 31, 2016. The press release, which Ryder also filed

   with the SEC on Form 8-K, reported that earnings before tax in the FMS business segment were




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   $82.9 million in the first quarter of 2016, down 8% compared with $89.7 million in the same period

   of 2015, driven, in part, by lower results in used vehicle sales. However, the press release stated

   that the Company’s full service lease results benefited from “lower depreciation associated with

   increased residual values.”

          33.     That same day, Ryder filed its quarterly report with the SEC on Form 10-Q,

   reporting the Company’s financial and operating results for the quarter ended March 31, 2016.

   Ryder reported that the Company’s lease and rental gross margin within its FMS business segment

   increased 2% in the first quarter of 2016 to $215.3 million and attributed the increase in margin,

   in part, to “benefits from improved residual values.” The Company also reported that earnings

   before tax in its FMS business segment decreased 8% in the first quarter of 2016 to $82.9 million

   and stated that “[f]ull service lease and commercial rental results benefited from approximately $9

   million of lower depreciation in the first quarter of 2016 due to residual value changes

   implemented January 1, 2016.”

          34.     On May 19, 2016, Ryder held a conference with analysts and investors as part of

   its 2016 Investor Day. In response to an analyst’s question whether Ryder expected the residual

   value to be flat over the next few years, Defendant Garcia stated “[y]es.”

          35.     On July 27, 2016, the Company issued a press release announcing its financial and

   operating results for the quarter ended June 30, 2016. The press release, which Ryder also filed

   with the SEC on Form 8-K, reported that earnings before tax in the FMS business segment were

   $111.2 million in the second quarter of 2016, down 9% compared with $122.5 million in the same

   period of 2015, driven, in part, by lower results in used vehicle sales. However, the press release

   stated that the Company’s full service lease and commercial rental results “benefited from lower

   depreciation associated with increased residual values.”




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          36.     That same day, Ryder held its second quarter 2016 earnings call. On that call,

   Defendant Sanchez stated that based on “what we’re seeing in the current marketplace, . . . I

   wouldn’t envision an increase or decrease in residual values out over the next four, five years.”

          37.     Ryder also filed its quarterly report with the SEC on Form 10-Q, reporting the

   Company’s financial and operating results for the quarter ended June 30, 2016. Ryder reported

   that earnings before tax in its FMS business segment decreased 9% in the second quarter of 2016

   and stated that “[f]ull service lease and commercial rental results benefited from approximately $9

   million of lower depreciation in the second quarter and $17 million in the first half of 2016 due to

   residual value changes implemented January 1, 2016.”

          38.     On October 25, 2016, the Company issued a press release announcing its financial

   and operating results for the quarter ended September 30, 2016. The press release, which Ryder

   also filed with the SEC on Form 8-K, reported that earnings before tax in the FMS business

   segment were $112.3 million in the third quarter of 2016, down 11% compared with $126.4 million

   in the same period of 2015, driven, in part, by lower results in used vehicle sales. However, the

   press release stated that the Company’s full service lease and commercial rental results “benefited

   from lower depreciation associated with increased residual values.”

          39.     Ryder also filed its quarterly report with the SEC on Form 10-Q, reporting the

   Company’s financial and operating results for the quarter ended September 30, 2016. Ryder

   reported that earnings before tax in its FMS business segment decreased 11% in the third quarter

   of 2016 driven, in part, by lower results in used vehicle sales but stated that “[f]ull service lease

   and commercial rental results benefited from approximately $9 million of lower depreciation in

   the third quarter and $26 million in the nine months ended September 30, 2016, due to residual

   value changes implemented January 1, 2016.”




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           40.     On November 8, 2016, Defendant Garcia presented at the Stephens Fall Investor

   Conference. During the conference, Defendant Garcia stated that the decline in used truck prices

   that the Company has experienced “will not result in us changing residuals right now.”

           41.     On February 14, 2017, Ryder filed its annual report with the SEC on Form 10-K,

   reporting the Company’s financial and operating results for the year ended December 31, 2016.

   In the 2016 10-K, Ryder reported that depreciation expense increased 6% in 2016 and increased

   7% in 2015 and stated that “[t]he increases in both years were partially offset by $35 million and

   $40 million, respectively, from increases in residual values.” The Company also stated that “[f]ull

   service lease and commercial rental results benefited from lower depreciation of $35 million due

   to residual value changes implemented January 1, 2016.”

           42.     That same day, Defendant Garcia presented at the Stifel Transportation & Logistics

   Conference. During the conference, in response to an analyst’s question about whether the

   Company is revisiting its residual values, Defendant Garcia stated that “most likely, it’s going to

   go down a little bit.”

           43.     On February 16, 2018, Ryder held its fourth quarter 2017 earnings call. On that

   call, in response to an analyst’s questions regarding a change in residuals and additional

   depreciation and the potential impact during 2019, Defendant Garcia stated that, based on Ryder’s

   expectations for used truck pricing, it will be at “a lower level than what we had seen this year”

   and “a reduced headwind of that probably at worst for us.”

           44.     On April 24, 2018, Ryder held its first quarter 2018 earnings call. On that call, in

   response to an analyst’s question about what the Company’s residual value adjustment would be

   for 2019, Defendant Garcia stated that “[i]t could be a little bit less than what it was this year” and

   guided analysts to “model[] in that $30 million to $40 million range.” Defendant Sanchez also




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   assured investors that “the earnings in the rest of the business is going to more than offset the

   earnings headwind from used vehicle sales and depreciation.”

          45.     On May 22, 2018, Defendant Sanchez presented at the Wolfe Research Global

   Transportation Conference. During the conference, Defendant Sanchez stated that “we’re going

   to enter 2019 with a lot of tailwind on lease growth, on dedicated growth and on logistics growth”

   and “the earnings from that should more than offset any headwind we would have from

   depreciation and used trucks.”

          46.     On July 25, 2018, Ryder held its second quarter 2018 earnings call. On that call,

   Defendant Garcia stated that “we would look at the impact of policy and accelerated [depreciation

   for 2019] to be in that $40 million to $45 million range. So a little bit higher than what it is this

   year.” Defendant Sanchez stated that “I would expect us even with continued headwinds next

   year, if we continue to have headwinds on the used truck side, to still be able to generate some

   nice earnings growth . . . driven by the contractual parts of the business.”

          47.     On October 26, 2018, Ryder held its third quarter 2018 earnings call. On that call,

   Defendant Sanchez assured investors that, with respect to the Company’s accounting treatment of

   its residual values, Ryder “keep[s] the residuals in the middle of the fairway as best we can.”

          48.     On February 14, 2019, Ryder held its fourth quarter 2018 earnings call. On that

   call, Defendant Sanchez stated that the Company has seen an improvement in the parity between

   the market price and residual value of Ryder’s used trucks as “the impact of all the accelerated

   [depreciation] and depreciation policy changes we’re making starts to bring that number down”

   and “[s]o I feel really good about where we’re headed with that.” Defendant Sanchez also stated

   that “going forward, I see the growth continuing and the headwinds really beginning to subside”

   and “that really helps us feel really good about where we’re going to be facing in the next couple




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   of years.” He further stated that the Company expected a $0.38 headwind to earnings per share

   due to accelerated depreciation, changes to residual values, and used vehicle sales in 2019 and thus

   “the headwinds that we’re looking at for this year [ ] are a lot less than last year.”

          49.     On April 30, 2019, Ryder held its first quarter 2019 earnings call. On that call, in

   response to an analyst’s questions regarding whether the Company was on track to see the

   approximately $0.40 headwind to earnings per share from losses on used vehicle sales and lower

   residuals for 2019 and 2020, Defendant Sanchez stated that “I would say we’re probably on track

   for those numbers.”

          50.     On May 9, 2019, Ryder filed its quarterly report with the SEC on Form 10-Q,

   reporting the Company’s financial and operating results for the quarter ended March 31, 2019.

   Ryder reported that earnings before tax in its FMS business segment increased 12% in the first

   quarter of 2019 driven by higher lease and commercial rental growth, and stated that the benefits

   attributing to lease and rental performance were “offset by higher depreciation of $9 million due

   to vehicle residual value changes implemented January 1, 2019.”

          51.     The statements set forth above in ¶¶ 19-50 were materially false and misleading,

   and they failed to disclose material facts necessary to make the statements made, in light of the

   circumstances under which they were made, not false and misleading. Specifically, Defendants

   willfully or recklessly made and/or caused the Company to make false and misleading statements

   to the investing public that failed to disclose that the Company’s financial results were inflated as

   a result of the Company’s practice of overstating the residual values of the vehicles in its fleet

   because there was no reasonable basis to believe that the Company would sell its used vehicles for

   the amounts that it had assigned to them. In truth, the Company’s residual values for its fleet of

   vehicles exceeded the expected future values that would be realized upon the sale of those vehicles




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   by such a degree that the Company ultimately took a $357 million depreciation charge in 2019

   related to Ryder’s reduction of its residual values to align them with the amounts for which they

   could realistically be sold.

                                        THE TRUTH EMERGES

           52.     On July 30, 2019, the Company reported earnings before tax for the second quarter

   of 2019 in its FMS business segment of $57.7 million compared to $76.6 million the prior year

   period, driven by lower used vehicle sales results which had declined from the prior year as a result

   of higher valuation adjustments of $10.4 million on a larger inventory and higher depreciation of

   $7.6 million due to residual value changes. As a result, Ryder reduced its earnings per share

   forecast for 2019 to a range of $4.80 to $5.10, as compared to its prior forecasted range of $5.28

   to $5.58. Although the Company did not quantify the impact of used vehicle prices on its 2019

   outlook, management indicated that the majority of the lowered guidance reflected weaker tractor

   valuations. In response to these disclosures, Ryder’s stock price declined 10%, from $59.32 per

   share to $53.38 per share.

           53.     On October 29, 2019, the Company disclosed to investors that “management

   concluded that our residual value estimates likely exceeded the expected future values that would

   be realized upon the sale of power vehicles in our fleet.” As a result, Ryder significantly lowered

   the residual value estimates for all vehicles and incurred $177 million in additional depreciation

   expense in the third quarter of 2019. In response to these disclosures, Ryder’s stock price declined

   more than 12% over two trading days, from $55.12 per share to $48.44 per share.

           54.     Then, on February 13, 2020, during the trading day, Ryder reported that, based on

   the significant reductions to the residual value of its fleet, it had incurred a total of $357 million in

   additional depreciation expense for 2019 plus a loss of approximately $58 million on the sale of

   used vehicles. The Company also announced that, for 2020, it expected to incur another $275


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   million in depreciation charges on its trucking fleet plus an additional $20 million estimated loss

   on used vehicle sales. In response to these disclosures, Ryder’s stock price declined 20% over two

   trading days, from $50.19 per share to $40.12 per share.

          55.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

   in the market value of the Company’s common stock, Plaintiff and other Class members have

   suffered significant losses and damages.

                                          LOSS CAUSATION

          56.     During the Class Period, as detailed herein, Defendants made materially false and

   misleading statements and omissions, and engaged in a scheme to deceive the market. This

   artificially inflated the price of Ryder common stock and operated as a fraud or deceit on the Class

   (as defined below). Later, when Defendants’ prior misrepresentations and fraudulent conduct were

   disclosed to the market, the price of Ryder stock fell precipitously as the prior artificial inflation

   came out of the price over time. As a result of their purchases of Ryder stock during the Class

   Period, Plaintiff and other members of the Class suffered economic loss, i.e., damages, under the

   federal securities laws.

                                  CLASS ACTION ALLEGATIONS

          57.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

   of Civil Procedure on behalf of all persons who purchased or otherwise acquired the publicly

   traded common stock of Ryder during the Class Period (the “Class”). Excluded from the Class

   are Defendants and their families, directors, and officers of Ryder and their families and affiliates.

          58.     The members of the Class are so numerous that joinder of all members is

   impracticable. The disposition of their claims in a class action will provide substantial benefits to

   the parties and the Court. As of January 31, 2020, Ryder had over 53 million shares of common

   stock outstanding, owned by hundreds or thousands of investors.


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          59.      There is a well-defined community of interest in the questions of law and fact

   involved in this case. Questions of law and fact common to the members of the Class which

   predominate over questions which may affect individual Class members include:

                   (a)    Whether Defendants violated the Exchange Act;

                   (b)    Whether Defendants omitted and/or misrepresented material facts;

                   (c)    Whether Defendants’ statements omitted material facts necessary in order

   to make the statements made, in light of the circumstances under which they were made, not

   misleading;

                   (d)    Whether the Individual Defendants are personally liable for the alleged

   misrepresentations and omissions described herein;

                   (e)    Whether Defendants knew or recklessly disregarded that their statements

   and/or omissions were false and misleading;

                   (f)    Whether Defendants’ conduct impacted the price of Ryder common stock;

                   (g)    Whether Defendants’ conduct caused the members of the Class to sustain

   damages; and

                   (h)    The extent of damage sustained by Class members and the appropriate

   measure of damages.

          60.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

   sustained damages from Defendants’ wrongful conduct.

          61.      Plaintiff will adequately protect the interests of the Class and has retained counsel

   experienced in class action securities litigation. Plaintiff has no interests which conflict with those

   of the Class.

          62.      A class action is superior to other available methods for the fair and efficient




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   adjudication of this controversy. Joinder of all Class members is impracticable.

                        INAPPLICABILITY OF STATUTORY SAFE HARBOR

          63.     Ryder’s “Safe Harbor” warnings accompanying its forward-looking statements

   issued during the Class Period were ineffective to shield those statements from liability.

          64.     Defendants are also liable for any false or misleading forward-looking statements

   pleaded herein because, at the time each such statement was made, the speaker knew the statement

   was false or misleading and the statement was authorized and/or approved by an executive officer

   of Ryder who knew that the statement was false. None of the historic or present tense statements

   made by Defendants were assumptions underlying or relating to any plan, projection, or statement

   of future economic performance, as they were not stated to be such assumptions underlying or

   relating to any projection or statement of future economic performance when made, nor were any

   of the projections or forecasts made by Defendants expressly related to, or stated to be dependent

   on, those historic or present tense statements when made.

                                  PRESUMPTION OF RELIANCE

          65.     At all relevant times, the market for Ryder common stock was an efficient market

   for the following reasons, among others:

                  (a)     Ryder common stock met the requirements for listing, and was listed and

   actively traded on the NYSE, a highly efficient and automated market;

                  (b)     As a regulated issuer, Ryder filed periodic public reports with the SEC and

   the NYSE;

                  (c)     Ryder regularly and publicly communicated with investors via established

   market communication mechanisms, including through regular disseminations of press releases on

   the national circuits of major newswire services and through other wide-ranging public disclosures,

   such as communications with the financial press and other similar reporting services; and


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                     (d)    Ryder was followed by several securities analysts employed by major

   brokerage firm(s) who wrote reports which were distributed to the sales force and certain

   customers of their respective brokerage firm(s). Each of these reports was publicly available and

   entered the public marketplace.

           66.       As a result of the foregoing, the market for Ryder common stock promptly digested

   current information regarding Ryder from all publicly available sources and reflected such

   information in the price of Ryder common stock. Under these circumstances, all purchasers of

   Ryder common stock during the Class Period suffered similar injury through their purchase of

   Ryder common stock at artificially inflated prices and the presumption of reliance applies.

           67.       A Class-wide presumption of reliance is also appropriate in this action under the

   Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

   because the Class’ claims are grounded on Defendants’ material omissions. Because this action

   involves Defendants’ failure to disclose material adverse information regarding Ryder’s business

   and operations—information that Defendants were obligated to disclose—positive proof of

   reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld be material

   in the sense that a reasonable investor might have considered them important in making investment

   decisions. Given the importance residual values have on the accounting for depreciation expense

   and the impact a change in residual values has on the Company’s earnings, that requirement is

   satisfied here.

                                           CAUSES OF ACTION

                                                  COUNT I

                 For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                                       Against All Defendants

           68.       Plaintiff repeats and realleges each and every allegation contained above as if fully



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   set forth herein.

           69.     During the Class Period, Defendants carried out a plan, scheme, and course of

   conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

   public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

   other members of the Class to purchase Ryder common stock at artificially inflated prices.

           70.     Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made

   untrue statements of material fact and/or omitted to state material facts necessary to make the

   statements not misleading; and (iii) engaged in acts, practices, and a course of business which

   operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

   to maintain artificially high market prices for Ryder common stock in violation of Section 10(b)

   of the Exchange Act and Rule 10b-5, promulgated thereunder.

           71.     Defendants, individually and in concert, directly and indirectly, by the use, means

   or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

   continuous course of conduct to conceal adverse material information about the Company’s

   financial well-being, operations, and prospects.

           72.     During the Class Period, Defendants made the false statements specified above,

   which they knew or recklessly disregarded to be false and misleading in that they contained

   misrepresentations and failed to disclose material facts necessary in order to make the statements

   made, in light of the circumstances under which they were made, not misleading.

           73.     Defendants had actual knowledge of the misrepresentations and omissions of

   material fact set forth herein, or recklessly disregarded the true facts that were available to them.

   Defendants engaged in this misconduct to conceal Ryder’s true condition from the investing public

   and to support the artificially inflated prices of the Company’s common stock.




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           74.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

   the market, they paid artificially inflated prices for Ryder common stock. Plaintiff and the Class

   would not have purchased the Company’s common stock at the prices they paid, or at all, had they

   been aware that the market prices for Ryder common stock had been artificially inflated by

   Defendants’ fraudulent course of conduct.

           75.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

   other members of the Class suffered damages in connection with their respective purchases of the

   Company’s common stock during the Class Period.

           76.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

   and Rule 10b-5, promulgated thereunder.

                                                COUNT II

                          For Violations of Section 20(a) of the Exchange Act
                                  Against the Individual Defendants

           77.     Plaintiff repeats, incorporates, and realleges each and every allegation set forth

   above as if fully set forth herein.

           78.     The Individual Defendants acted as controlling persons of Ryder within the

   meaning of Section 20(a) of the Exchange Act.             By virtue of their high-level positions,

   participation in and/or awareness of the Company’s operations, direct involvement in the day-to-

   day operations of the Company, and/or intimate knowledge of the Company’s actual performance,

   and their power to control public statements about Ryder, the Individual Defendants had the power

   and ability to control the actions of Ryder and its employees. By reason of such conduct, the

   Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act.

                                         PRAYER FOR RELIEF

           79.     WHEREFORE, Plaintiff prays for judgment as follows:



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                  A.       Determining that this action is a proper class action under Rule 23 of the

   Federal Rules of Civil Procedure;

                  B.       Awarding compensatory damages in favor of Plaintiff and other Class

   members against all Defendants, jointly and severally, for all damages sustained as a result of

   Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

                  C.       Awarding Plaintiff and the Class their reasonable costs and expenses

   incurred in this action, including attorneys’ fees and expert fees; and

                  D.       Awarding such equitable/injunctive or other further relief as the Court may

   deem just and proper.

                                           JURY DEMAND

          80.     Plaintiff demands a trial by jury.

    DATED: May 20, 2020                                Respectfully submitted,

                                                       KLAUSNER KAUFMAN JENSEN
                                                         & LEVINSON

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